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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Case No. 24-mj-0089-JLB
Plaintiff,
v. ORDER OF REMOVAL
(Defendant Not In Custody)
JENNA McGRATH,
Defendant.

An arrest warrant and indictment having been filed in the Central District of California,
charging defendant Jenna McGrath with: Entering or Remaining in any Restricted Building or
Grounds Without Lawful Authority, in violation of 18 U.S.C. § 1752(a)(1); Disorderly or
Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2);
Disorderly or Disruptive Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D);
and Parading, Picketing, or Demonstrating, in a Capitol Building, in violation of 40 U.S.C. §
5104(e)(2)(G).

Defendant Jenna McGrath was arrested on January 11, 2024 in the Southern District of
California, pursuant to the arrest warrant. On January 11, 2024, the defendant was released on her
own recognizance. On January 24, 2024, the defendant waived an identity hearing pursuant to
Rule 5(c) of the Federal Rules of Criminal Procedure, Therefore,

IT IS HEREBY ORDERED the defendant Jenna McGrath report to the District of
Columbia, by Zoom, on February 6, 2024 at 12:30 PM. The defendant’s initial appearance will be
before the Honorable G. Michael Harvey, United States Magistrate Judge, using the Zoom Link
below:

Link: https://uscourts-ded.zoomgov.com/j/1600140355 9pwd=VTIkKQOZEVmJOTVN3bmUwS05nZndZOT09
Meeting ID: 160 014 0355
Passeode: 634244

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NORABLE JILL L. BURKHARDT
United States Magistrate Judge

Dated at San Diego, California, this 2 Gay of al OES, 2024,
